                  UNITED STATES DISTRICT COURT FOR THE
                     EASTERN DISTRICT OF TENNESSEE
                            AT GREENEVILLE



UNITED STATES OF AMERICA                      )
                                              )
v.                                            )            NO. 2:03-CR-74
                                              )
                                              )
HOPE BROWN                                    )

                                        ORDER


              This criminal matter is before the Court for sentencing. Pursuant to this

Court’s interpretation of United States v. Booker, 125 S. Ct. 738 (2005) this Court

must decide, on a case by case basis, what sentence is reasonable in this case based

upon a consideration of the otherwise applicable guidelines range as well as the other

statutory factors which are set forth in the Sentencing Reform Act. Title 18, U.S.C.

§ 3553(a) requires a sentencing court to consider:

         (1) the nature and circumstances of the offense and the history and
         characteristics of the defendant;
         (2) the need for the sentence imposed –
                (A) to reflect the seriousness of the offense, to promote respect
         for the law and to provide just punishment for the offense;
                (B) to afford adequate deterrence to criminal conduct;
                (C) to protect the public from further crimes of the defendant;
         and
                (D) to provide the defendant with needed educational or
         vocational training, medical care, or other correctional treatment in the
         most effective manner;
         (3) the kinds of sentences available;
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       (4) the kinds of sentence and the sentencing range established for:
             (A) the applicable category of offense committed by the
       applicable category of defendant as set forth in the guidelines issued
       by the Sentencing Commission . . .;
       (5) any pertinent policy statement issued by the Sentencing
       Commission . . .;
       (6) the need to avoid unwarranted sentence disparities among
       defendants with similar records who have been found guilty of similar
       conduct; and
       (7) the need to provide restitution to any victims of the offense.

             In deciding the question of how much weight the guidelines should carry

in arriving at a reasonable sentence, this Court FINDS, post Booker, that the

guidelines, although advisory and only one factor among others to be considered in

arriving at a reasonable sentence, are entitled to substantial weight in the sentencing

decision. Only when clearly outweighed by some other factor(s) set forth in § 3553(a)

will the Court be inclined to sentence outside the appropriate guideline range.

             The Court’s analysis in regard to the applicable factor(s) set forth in §

3553(a) is as follows:

1. THE NATURE AND CIRCUMSTANCES OF THE OFFENSE

             The Court FINDS that the offenses of conspiracy to distribute and to possess

with the intent to distribute 50 grams or more of cocaine base or crack and conspiracy to

launder monetary instruments are very serious offenses. The defendant admitted in her

agreed factual basis that she had been involved in a conspiracy involving at least 500

grams but less than 1.5 kilograms of crack which subjects her to a ten (10) year


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mandatory minimum term of imprisonment.

2. THE HISTORY AND CHARACTERISTICS OF THE DEFENDANT

             The defendant, Hope Brown, was born on July 12, 1956 in Bristol,

Tennessee. She has one adult child and she is the mother of one minor child who

lives with his father, Greg Brown, in Florida. Although she was married to Stephen

Vestal in 2001, she is unsure of the status of this relationship.

             The defendant admitted that she had smoked marijuana daily for the past

33 years. She began using crack cocaine in the year 2000 and used it regularly in

2001 and 2002. The defendant apparently became involved with Darryl McCrae in

his drug distribution activity in Johnson City, Tennessee, because of her addiction to

crack cocaine. She admitted traveling to North Carolina to pick up crack cocaine,

distributing drugs, and wiring money for McCrae for drug debts.

             The defendant testified that she took part in the drug conspiracy from March

of 2002 to October of 2002 when McCrae told her that he was leaving town and moving

to another state.   When she learned that he was still involved in drugs and had only

moved to the adjacent town of Kingsport, Tennessee, she made no attempt to contact him

in order to continue her illegal conduct. She stated that between October of 2002 and her

arrest on November 6, 2003, she was not involved in any illegal activity and that she had

overcome her drug addiction on her own.



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3. THE NEED FOR THE SENTENCE IMPOSED

             The Court FINDS that there is a need for the sentence imposed because

of the need for deterrence of future criminal conduct on the part of the defendant and

others. Although the defendant was involved in the conspiracy for a short period of

time, she was involved with a large quantity of drugs and money.

4. SENTENCING RANGE ESTABLISHED BY THE GUIDELINES

             The sentencing range established by the guidelines is 135 to 168 months.

5. THE NEED TO AVOID UNWARRANTED SENTENCE DISPARITIES

             The Court FINDS that the only standard that the Court has to apply to

avoid unwarranted sentence disparities among defendants with similar records who

have been found guilty of similar conduct is the guidelines.



CONCLUSION

             Taking all the foregoing factors into consideration, the Court FINDS that the

following factors, none of which are taken into account by the guidelines calculation,

weigh in the defendant’s favor and dictate a sentence outside the advisory guideline range:

             1. The defendant withdrew from the conspiracy voluntarily;

             2. She engaged in no further illegal conduct in the one year period prior to

her arrest: and

             3. She overcame her drug habit on her own.

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Based upon all the applicable factors as a whole, the Court FINDS that a reasonable

sentence for this defendant is one hundred and twenty (120) months.



            E N T E R:

                                              S/J. RONNIE GREER
                                              UNITED STATES DISTRICT JUDGE




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